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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS

                                                 )
THERA LAMBERT, individually and on               )
behalf of all others similarly situated,         )
                                                 )      Case No. 17-cv-2149
                      Plaintiff,                 )
                                                 )      Hon. Jorge L. Alonso
     v.                                          )
                                                 )
GENERAL NUTRITION CORPORATION,                   )      Hon. Maria Valdez
                                                 )
                     Defendant.                  )
                                                 )

                                   STIPULATION OF DISMISSAL

          Pursuant to Federal Rule of Civil Procedure 41, Plaintiff and Defendant hereby stipulate

to the dismissal of Plaintiff’s individual claims with prejudice and the claims of the proposed

Class without prejudice. Each party shall bear its own costs and fees.

Dated: February 9, 2018                              Respectfully submitted,


By: /s/ Katrina Carroll                              By: /s/Alexandra M. McGee
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                                CERTIFICATE OF SERVICE

       The undersigned, an attorney, certifies that a true and correct copy of the foregoing

Stipulation Of Dismissal was filed this 9th day of February 2018 via the Court’s electronic

filing system, which will serve all counsel of record.

                                              /s/ Katrina Carroll
